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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


GREGORY SELDEN

        Plaintiff, Individually and on                          Civil Action: 1:16-cv-00933
        Behalf of all Others Similarly Situated,
v.

AIRBNB, INC.

        Defendant.

________________________________________________________________________

                            PLAINTIFF’S STATUS REPORT


        The Plaintiff submits this status report in accordance with the Court’s August 16,

2018-minute order. The parties could not agree to the filing a joint status report because

Defendant wanted to restrict the contents of Plaintiff’s following report:

        1.      After Selden’s petition for certiorari was denied by the Supreme Court, he

filed his Demand with the American Arbitration Association (“AAA”) on October 10, 2017.

Selden’s Demand included all claims maintained within his Second Amended Complaint.

        2.      Airbnb answered Selden’s Demand on November 7, 2017.

        3.      Selden re-filed his Demand on December 7, 2017. Airbnb answered Selden’s

Amended Demand on December 21, 2017.

        4.      On February 7, 2018, AAA began processing Selden’s claim.

        5.      The parties held their first preliminary hearing on August 9, 2018. During the

hearing, Airbnb requested to file an early dispositive motion to dispose of all of Selden’s

claims. The Arbitrator allowed it.




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         6.      Airbnb’s primary argument for dismissal was largely based on Section 230 of

the Communications Decency Act. However, the arbitrator rejected the argument and

denied Airbnb’s Motion to Dismiss.

         7.      On November 5, 2018, the Arbitrator held a preliminary hearing and set

forth a scheduling order, which includes deadlines for discovery.

         8.      The arbitrator set this matter for an evidentiary hearing or trial on June 8,

2019.

         9.      Plaintiff will voluntarily provide a status update within 90 days from the date

this report is filed.

                                         Respected Submitted,

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                                 CERTIFICATE OF SERVICE

     I hereby certify that on November 8, 2018, I electronically filed the foregoing with the
Clerk of the Court using the ECF system which will send notification of such filing to the
following CM/ECF participants:

Ellen Kennedy
Ellen.kennedy@hoganlovells.com
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